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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION


 IN RE: AQUEOUS FILM-FORMING                              MDL No. 2:18-mn-2873-RMG
 FOAMS PRODUCTS LIABILITY
 LITIGATION                                                 This Document Relates to
                                                                  ALL CASES




 UNITED STATES’ GLOBAL MOTION TO DISMISS FOR LACK OF JURISDICTION
                   BASED ON CERCLA SECTION 113(h)

       Pursuant to Federal Rule of Civil Procedure 12(b)(1) and Case Management Order 25,

Defendant the United States of America hereby moves to dismiss the claims listed in Table 1

below for lack of subject matter jurisdiction (the “Remedial Claims”). This Court lacks

jurisdiction over the Remedial Claims under section 113(h) of the Comprehensive

Environmental Response, Compensation, and Liability Act (“CERCLA”). 42 U.S.C. § 9613(h).

That provision strips federal courts of jurisdiction over any claim that challenges an agency’s

response actions under CERCLA, with certain limited exceptions not at issue here. At each of

the facilities targeted by the Remedial Claims, the U.S. Department of Defense is engaged in

CERCLA response actions addressing releases of perfluoroalkyl substances. Because the

Remedial Claims are seeking injunctive relief to alter, supplement, speed up, or otherwise dictate

those response actions, they must be dismissed.
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Table 1 – List of Claims Subject to Dismissal under CERCLA Section 113(h)

 Case                                                     Claims Subject to Dismissal
 City of Newburgh v. United States, et al.,               1, 2
 No. 2:18-cv-03358-RMG

 County of Suffolk v. United States,                      1, 2, 8, 10, 11, 12
 No. 2:19-cv-01181-RMG

 Elsinore Valley Municipal Water District v. 3M Co.,      3, 4, 5
 No. 2:21-cv-03699-RMG

 Lakewood Water District v. United States,                10
 No. 2:20-cv-02899-RMG

 New Jersey Department of Environmental Protection v.     1, 2
 United States,
 No. 2:21-cv-00146-RMG

 New Mexico v. United States,                             1, 2
 No. 2:20-cv-02115-RMG

 Town of New Windsor v. United States,                    2, 3, 4, 5
 No. 2:21-cv-01496-RMG


       In support of this Motion, the United States submits and relies upon the accompanying

Memorandum of Points and Authorities and all exhibits thereto.

Respectfully submitted,

 Dated: February 26, 2024                       TODD KIM
                                                Assistant Attorney General

                                                 /s/ Andrew D. Knudsen
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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 26, 2024, a copy of the foregoing was filed via the

Court’s ECF system and served on counsel of record through the ECF system.



Dated: February 26, 2024                            /s/ Andrew D. Knudsen
                                                    ANDREW D. KNUDSEN
